                  Case 4:03-cr-00201-JMM                       Document 94        Filed 01/05/10          Page 1 of 5
~A0245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1
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                                                                                                                   ......, TERN OISTR,cr cOU~T'

                                      UNITED STATES DISTRICf COURT                                                     JAN _5';a~;"'NSAs
                                                         Eastern District of Arkansas            JA~~M
                                                                                                 By:~ ACK, CLERK
          UNITED STATES OF AMERICA                                      Judgment in a Criminal Case                                   ""1>e--
                             v.                                         (For Revocation of Probation or Supervised Release)                 P CLERK'
              BRAD WILSON KELLEY

                                                                        Case No. 4:03cr00201-02 JMM
                                                                        USM No. 23066-009
                                                                         Latrece E. Gray
                                                                                                Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           General, Standard & Special of the term of supervision.
o was found in violation of condition(s)              _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                               yiolation Ended
General                           Failure to refrain from committing another crime                           09/08/2009



Standard 8                        Failure to refrain from places of illegal use of drugs                     09/08/2009


       The defendant is sentenced as provided in pages 2 through             5      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 6159                      01/05/2010
                                                                                           Date of Imposition of Judgment



                                                                        ~~;goa~
Defendant's Year of Birth:           1983

City and State of Defendant's Residence:
Fayetteville, Arkansas
                                                                         James M. Moody                              US District Judge
                                                                                               Name and Title of Judge

                                                                        ~,-="2-=O....:....:IO=---                                           _
                                                                                                        Date
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AO 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1A

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DEFENDANT: BRAD WILSON KELLEY
CASE NUMBER: 4:03cr00201-02 JMM

                                                        ADDmONAL VIOLATIONS

                                                                                                                Violation
Violation Number                 Nature of Violation                                                            Concluded
Standard 5                       Failure to work regularly at a lawful occupation                               11/01/2009


                                 employment
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  AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment
                                                                                                      Judgment - Page   _....;;;.3_ of    5
  DEFENDANT: BRAD WILSON KELLEY
  CASE NUMBER: 4:03cr00201-02 JMM


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
SIX (6) MONTHS




     tI The court makes the following recommendations to the Bureau of Prisons:
Defendant shall serve his term of imprisonment at Forrest City. Arkansas.




     tI The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
            D     at   _________ D                          a.m.      D    p.m.    on

            D     as notified by the United States Marshal.

     D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D     before 2 p.m. on
            D     as notified by the United States Marshal.
            D     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                         to

  at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                                  By                                                     ----
                                                                                                DEPUTY UNITED STATES MARSHAL
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  AO 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 3 - Supervised Release

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  DEFENDANT: BRAD WILSON KELLEY
  CASE NUMBER: 4:03crO0201-02 JMM
                                                              SUPERVISED RELEASE
  Upon release from imprisonment, the defendant shall be on supervised release for a term of :
TWO (2) YEARS



           The defendant must repqrt to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully pqssess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
  tests thereafter as determined by the court.
  o     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  tI The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  o     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                              STANDARD CONDmONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
            five days of each month;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted pernussion to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics ana shall permit the probation officer to make such
            notifications and to confmn the defendant's compliance with such notificatIOn requirement.
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            Sheet 3C - Supervised Release
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 DEFENDANT: BRAD WILSON KELLEY
 CASE NUMBER: 4:03cr00201-02 JMM

                                             SPECIAL CONDITIONS OF SUPERVISION

1) The first six (6) months Defendant shall be committed to a residential re-entry center (City of Faith in Little Rock,
Arkansas.

2) The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
treatment program which may include testing, outpatient counseling, and residential treatment. Further, the defendant
shall abstain from the use of alcohol throughout the course of treatment.
